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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                              :
                                                      :
                 -against-                            :
                                                      :         15-95
JURABOEV, et. al, AZIZJON                             :         WFK
RAKHMATOV,                                            :
                                                      :
                                 Defendant            :
                                                      :
------------------------------------------------------x




                                 DEFENDANT RAKHMATOV’S
                                 SUPPLEMENT TO HIS MOTION
                                 TO DISMISS COUNT THREE




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                                         POINT I

                     RECENT SUPREME COURT DECISIONS
                     REQUIRE DISMISSAL OF COUNT THREE

       This is a supplement to Defendant Rakmhatov’s motion, filed June 24, 2019, to

dismiss Count Three of the indictment charging Mr. Rakmhatov with conspiracy to use

and carry a firearm during a crime of violence, to wit the crimes charged in Counts One

and Two, 18 U.S.C. §924(c). Mr. Rakhmatov asserts that Counts One and Two are not

crimes of violence, as a matter of law, because they do not have as an element, “the use,

attempted use, or threatened use of physical force against the person and property of

another.” 18 U.S.C. §924(c)(3)(A). On the day the motion to dismiss Count Three was

filed, the Supreme Court issued a decision reaffirming the grounds for dismissal.

       In United States v, Davis, 139 U.S. 2319 (June 24, 2019), the Court affirmed the

Fifth Circuit’s holding that conspiracy to commit robbery is not a crime of violence. The

Court held that the “residual clause” of 18 U.S.C. §924(c)(3)(B), the only basis on which

the conspiracy charge could arguably be sustained as a crime of violence, is

unconstitutionally vague. The conspiracy crime could not otherwise be sustained as a

crime of violence under the “elements clause,” 18 U.S.C. §924(c)(3)(A), because it does

not have as an element the “the use, attempted use, or threatened use of physical force.”

       On June 28, 2019, the Supreme Court vacated the Second Circuit decision in

United States v. Barrett, 903 F.3d 166 (2018), in light of Davis. Barrett had held that the

residual clause was constitutional.

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       The Supreme Court in Davis also held that the case specific fact approach, offered

by the government, and previously adopted by the Second Circuit to replace the

categorical approach as a theory on which to sustain convictions otherwise

unconstitutional under the residual clause, is not valid under the law. Watkins v. United

States, 2019 WL 653249, vacating in light of Davis, United States v. Costa, 744

Fed.Appx. 27 (2d Cir. 2018).

       The Second Circuit’s decision in United States v. Hill, 890 F.3d 51 (2018),

remains to sustain a §924(c) charge when the underlying crime is a substantive offense

which has as an element “the use, attempted use, or threatened use of physical force.”

Neither Counts One or Two of the indictment in this case is such a crime. The conspiracy

charged in Count One specifically is not a crime of violence under Davis.

                                     CONCLUSION

                     FOR THE ABOVE STATES REASONS, AND
                     THE REASONS STATED IN THE OPENING
                     MOTION, COUNT THREE SHOULD BE
                     DISMISSED

                                              Respectfully submitted,



                                              S/Lawrence Mark Stern

                                              LAWRENCE MARK STERN

                                              S/James Neuman

                                              JAMES NEUMAN

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